OPINION — AG — THE PROVISIONS OF THIS ACT WILL PREVENT EMPLOYEES FROM DRAWING TIME AND HALF (OVERTIME) FOR THOSE HOURS WORKED OVER FORTY (40) DURING ANY CALENDAR WEEK, "DOES NOT REQUIRE ANY COUNTY OFFICER, BOARD OR COMMISSION TO PAY ANY COUNTY EMPLOYEE TIME AND HALF FOR ANY HOURS WORKED IN EXCESS OF FORTY DURING ONE CALENDAR WEEK". CITE: 19 O.S.H. 1, 61 O.S.H. 3, 61 O.S.H. 4, 61 O.S.H. 5, ARTICLE XXIII, SECTION 1 (JAMES HARKIN)